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 6                       IN THE UNITED STATES DISTRICT COURT
 7                            FOR THE DISTRICT OF ARIZONA
 8
     United States of America,                             CR-18-422-PHX-SPL (BSB)
 9
                          Plaintiff,                      ORDER GRANTING THE
10                                                     GOVERNMENT’S MOTION FOR
              v.                                       CLARIFICATION RE ORDER TO
11                                                     RESOLVE ATTORNEY-CLIENT
                                                            PRIVILEGE ISSUES
12   Michael Lacey, et al.,
13                        Defendants.
14
15         The Court having reviewed the United States’ Motion for Clarification re Order to
16   Resolve Attorney-Client Privilege Issues, and good cause appearing,
17         IT IS ORDERED that the government may re-initiate its filter review of all materials
18   that are potentially protected by the attorney-client privilege, which will ensure the
19   discovery process continues to move forward in an efficient manner.
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